  Case 20-01160      Doc 50   Filed 11/12/21 Entered 11/12/21 14:58:48           Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )               BK No.:    20-01160
Tanisha E. Hart,                           )
                                           )               Chapter: 13
                                           )
                                                           Honorable LaShonda Hunt
                                           )
                                           )               Joliet
              Debtor(s)                    )

     ORDER GRANTING MOTION TO TEMPORARILY VACATE PAYROLL ORDER

       THIS MATTER coming to be heard on the motion of the Debtors, the Court having jurisdiction
over the parties and the subject matter and being duly advised in the premises and due notice having
been given to the parties entitled thereto:

It is hereby ORDERED that:

  1) Payroll deductions shall cease for the months of November and December 2021.

  2) Payroll deductions shall resume beginning January 2022.




                                                        Enter:


                                                                 Honorable LaShonda A. Hunt
Dated: November 12, 2021                                         United States Bankruptcy Judge

 Prepared by:
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